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                    UNITED STATES DISTRICT COURT FOR THE
                      MIDDLE DISTRICT OF PENNSYLVANIA

Patricia Heidelberg                                                       :
                                                                          : CIVIL ACTION – LAW
                   Plaintiff                                              :
                                                                          : No.
                                                                          :
         v.                                                               : JURY TRIAL DEMANDED
                                                                          :
                                                                          :
                                                                          :
University of Pittsburgh Medical Center                                   :
Pinnacle d/b/a UPMC Pinnacle                                              :
                                                                          :
                   Defendant                                              :
:::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::

                                                COMPLAINT

         Plaintiff, Patricia Heidelberg, at all relevant times to the complaint, residing

at 301 North Progress Avenue, Harrisburg, PA, County of Dauphin, and

Commonwealth of Pennsylvania, by way of Complaint against the Defendant, says:

                                   PRELIMINARY STATEMENT

    1. This matter is brought pursuant to Title VII of the Civil Rights Act of 1964,

         42 U.S.C. § 2000e.

                                   JURISDICTION AND VENUE

    2. This Court may exercise original subject matter jurisdiction over the instant

         action pursuant to 28 U.S.C. §§ 1331 and 1343; 42 U.S.C. §2000e, et seq.,

         as amended by the Civil Rights Act of 1991, the Civil Rights Act of 1866,



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   42 U.S.C. §2000e-5(f); and Title VII of the Civil Rights Act of 1964 (“Title

   VII”), as amended by the Equal Employment Opportunity Act of 1972.

3. Venue is proper in the Middle District of Pennsylvania because the events

   and/or omissions giving rise to Plaintiff’s claims occurred within this district

   and Defendant conducts business in this district.

                                  PARTIES

4. Plaintiff, Patricia Heidelberg, is at all times herein, a resident of the

   Commonwealth of Pennsylvania Plaintiff, at all times relevant to the

   complaint, was an employee of the Defendant.

5. Defendant, University of Pittsburgh Medical Center (UPMC) Pinnacle,

   located in Harrisburg, PA, is and was at all times referred to in this Complaint

   a private healthcare entity organized under the laws of the Commonwealth of

   Pennsylvania and is responsible for the policies, procedures, and practices

   implemented through its various employees and agents and for injury

   occasioned thereby.

6. Plaintiff has complied with all jurisdictional prerequisites, including those set

   forth in 42 U.S.C. Section 2000e-5(f), and has exhausted all required state

   and federal administrative remedies, including proceeding before the United

   States Equal Employment Opportunity Commission, with dual-filing in the

   Pennsylvania Human Relations Commission.


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                       GENERAL ALLEGATIONS

7. Plaintiff is a female born in 1955.

8. In or about October 2018, Plaintiff was hired by Defendant as a Patient

   Representative.

9. Plaintiff claims gender discrimination and sexual harassment, as Plaintiff was

   sexually assaulted by a co-worker.

10.The harassment is alleged to be severe and/or pervasive.

11.The harassment is alleged to be “because of” sex and/or perceptions regarding

   the same.

12.This harassment is also alleged to be “because of” sex because the assault was

   sexually laced, flavored, and sexual in nature on its face.

13.On Friday January 8, 2021, at approximately 3:45 PM, Plaintiff was sexually

   assaulted by Maryam Saadidi, a Float Medical Assistant who worked

   predominately in Defendant’s West Offices.

14.Ms. Saadidi was asked to work at Defendant’s East Offices on January 8,

   2021 due to a staffing shortage.

15.Plaintiff typically took direction and supervision from a physician.




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16.In the absence of an attending physician, Ms. Tanya Brautigam would wield

   the supervisory authority of a physician. Plainitff was responsible for

   scheduling Ms. Brautigam’s patients.

17.Defendant vested Ms. Brautigam with authority to: direct Plaintiff how and

   when to schedule Ms. Brautigam patients, dictate how Plaintiff spoke to Ms.

   Brautigam’s patients, reschedule Ms. Brautigam’s patience, dictate how

   Plaintiff communicated medical correspondence to other company’s and/or

   stakeholders, and dictate what assignments/duties Plaintiff performed and

   how those assignments and duties were performed.

18. On Friday January 8, 2021, at approximately 3:45 PM, Tanya Brautigam, a

   Certified Registered Nurse Practitioner who supervised and worked closely

   with Patient Representatives, challenged Ms. Saadidi to grab an employee

   named Tess Onink’s breasts. Ms. Saadidi declined this challenged, but instead

   accepted Ms. Brautigam’s challenge to grab Plaintiff’s breast.

19. While Plaintiff was seated in a chair at her desk in the front reception area of

   the office, she heard laughter coming from the office staff behind her. Plaintiff

   turned around and saw Ms. Saadidi rushing toward her.

20.Upon realizing that Ms. Saadidi was rapidly approaching, Plaintiff put both

   of her hands in the air for her own protection and yelled “stop.”

21.Ms. Saadidi then grabbed Plaintiff’s right breast and refused to release her.


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22.Due to the force of Ms. Saadidi’s impact with Plaintiff, Plaintiff’s chair was

   pushed against her desk, trapping Plaintiff between Ms. Saadidi and

   Plaintiff’s desk.

23.Ms. Saadidi struggled to pin Plaintiff between herself and Plaintiff’s desk.

24.Plaintiff was forced to use all of her strength to hold Ms. Saadidi’s free hand

   and shoulder to protect herself from Ms. Saadidi’s physical contact. Plaintiff

   held Ms. Saadidi firm, but Ms. Saadidi continued to lean on Plaintiff.

25.Ms. Saadidi’s use of physical force was witnessed by Ms. Onink, who looked

   on in terror.

26.When Ms. Saadidi released Plaintiff’s breast, Plaintiff noticed that Ms.

   Brautigam was buckled over and laughing hysterically while looking in

   Plaintiff’s direction. Plaintiff also noticed that other co-workers were

   laughing about Plaintiff’s sexual assault.

27.Plaintiff completed the work day, went to her vehicle, and began to cry and

   yell. Plaintiff experienced feelings of embarrassment, humiliation, shame,

   and anger.

28.On the morning of Monday January 11, 2021, Plaintiff reported the sexual

   assault to her supervisor, Lisa Gonzales, Office Manager. Ms. Gonzales

   informed Plaintiff that Ms. Gonzales would talk to Human Resources.




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29.Following Plaintiff’s meeting with Ms. Gonzales, Plaintiff felt ambushed and

   trapped by her co-workers that were involved in the January 8, 2021 sexual

   assault. Plaintiff told Ms. Saadidi to stay away from her and to never touch

   her again.

30.Approximately one week later, Plaintiff was approached by Natasha Bishop,

   Certified Medical Assistant, who informed Plaintiff that Ms. Saadidi grabbed

   Plaintiff’s breast because she was dared to do so by Ms. Brautigam.

31.Plaintiff was further informed that Ms. Saadidi was directed by Ms.

   Brautigam to “grab Miss Pat’s titties.”

32.On February 12, 2021, Plaintiff questioned Ms. Brautigam regarding her

   involvement in Plaintiff’s January 8, 2021 sexual assault. Specifically,

   Plaintiff asked Ms. Brautigam whether she sent Ms. Saadidi to attack

   Plaintiff. As a result of Plaintiff’s questioning of Ms. Brautigam, Ms.

   Brautigam complained to Ms. Gonzales that Plaintiff had engaged in

   inappropriate conduct by raising her voice at Ms. Brautigam.

33.On the same day, Ms. Gonzales requested Plaintiff’s presence at a 3:30 PM

   meeting. Plaintiff, Ms. Gonzales, Ms. Brautigam, Ms. Saadidi, Ms. Bishop,

   and Patty Ruiz, former Office Manager, were present at this meeting. During

   the meeting, Ms. Brautigam and Ms. Saadidi asserted that their sexual

   harassment of Plaintiff was “just a joke.”


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34.During the February 12, 2021 meeting, Plaintiff experienced a violent panic

   attack resulting from Ms. Brautigam’s and Ms. Saadidi’s lack of

   accountability for participating in Plaintiff’s sexual assault.

35.Plaintiff was forced to continue to work with and be supervised by and/or take

   directions from Ms. Brautigam. Plaintiff was not contacted by anyone from

   Defendant’s Human Resources until approximately two months after the

   sexual assault.

36. On or about March 2, 2021, Plaintiff communicated with the Dauphin

   County Police Department to discuss the January 8, 2022, sexual assault.

37.Ms. Brautigam’s continued presence in the workplace for approximately two

   months made Plaintiff uncomfortable and uneasy.

38.Plaintiff has and continues to suffer severe emotional distress because of the

   sexual assault and Defendant’s failure to take prompt remedial action.

39.Plaintiff has sought medical care with respect to her severe emotional distress

   from Dr. Beth Budesheim.

40.Plaintiff’s sex was a motivating and/or determinative factor in Defendant’s

   discriminatory treatment of Plaintiff, including the creation of a hostile work

   environment to which Plaintiff was subjected.

41.The discriminatory conduct of Defendant, as alleged herein, was severe

   and/or pervasive enough to make a reasonable female employee believe that


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   the conditions of employment had been altered and that a hostile work

   environment existed, and make Plaintiff believe that the conditions of

   employment had been altered and that a hostile work environment existed.

42.Sexual assault is among the most severe forms of sexual harassment.

43.Ms. Saadidi’s sexual assault of Plaintiff is so severe as to constitute a discrete

   act.

44.Defendant failed to prevent or address the discriminatory conduct referred to

   herein and further failed to take appropriate prompt corrective and/or

   remedial measures to make the workplace free of harassing and

   discriminatory conduct.

45.Defendant failed to timely institute, initiate and/or comply with any plan or

   policy to remediate the hostile work environment to which Plaintiff was

   subject.

                                    COUNT I

                       Sexual Harassment Under Title VII

46.Plaintiff hereby repeats and realleges all preceding paragraphs as though fully

   set forth herein.

47.Defendant is responsible for the conduct directed against Plaintiff because

   Defendant knew of the sexual assault against Plaintiff and failed to take

   prompt remedial measures to stop the harassment.


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   48.Alternatively, Defendant was negligent by failing to take reasonable measures

      to prevent the harassment that Plaintiff endured and that negligence was the

      proximate cause of the harm Plaintiff suffered.

   49.Otherwise, the harassment experienced by Plaintiff meets the criteria for

      sexual harassment under Title VII.

   50.Plaintiff suffered mental and emotional distress due to the sexual harassment

      and hostile work environment.

   51.Plaintiff was forced to exhaust, at her expense, several weeks of vacation and

      sick leave to cope and/or address the effects of the sexual harassment/assault.

   52.Wherefore,     Plaintiff   demands       judgment   against   Defendant   with

      compensatory damages, interest, costs, attorney’s fees and any other relief the

      Court deems equitable and just. Due to Defendant’s failure to fully remediate

      and/or correct the effects of the discrimination against the Plaintiffs, the

      Defendant has not satisfied the elements of the affirmative defense available

      to employers under Title VII. Therefore, Defendant is liable for the

      discriminatory actions of its personnel.

                                 PRAYER FOR RELIEF

      WHEREFORE, Plaintiff, Patricia Heidelberg, respectfully requests this Court

enter judgment in Plaintiff’s favor and an order as follows:

             a. For past, present, and future general damages in an amount to be


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       determined at trial;

    b. For past, present, and future special damages, including but not

       limited to past, present, and future lost earnings, economic damages,

       compensatory damages and others, in an amount to be determined

       at trial;

    c. Plaintiff is to be awarded actual damages, as well as damages for

       the pain, suffering and humiliation caused to her by Defendant’s

       actions;

    d. Any appropriate punitive or exemplary damages against Defendant;

    e. Any appropriate statutory damages;

    f. For attorney’s fees and costs of suit;

    g. For interest as allowed by law;

    h. For such other and future relief as the court may deem proper.




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                                   JURY DEMAND

        Plaintiff demands trial by jury.


                                            ABARA LAW FIRM, PLLC.

                                             s/ Obinna I. Abara
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Date: ______8/8/2022________




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